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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

ASSOCIATION FOR COMMUNITY
AFFILIATED PLANS, et al.,

Plaintiffs,

UNITED STATES DEPARTMENT OF
TREASURY, ef al.,

Civil Case No. 18-2133 (RJL)

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v. )
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Defendants. )

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FILED

f*OrvER JUL 19 2019

(July » 2019) [Dkt. ## 39, 40] Clerk, U.S. District & Bankruptoy

Courts for the District of Columbia

For the reasons set forth in the accompanying Memorandum Opinion, it is hereby
ORDERED that plaintiffs’ Motion for Summary Judgment [Dkt. # 39] is DENIED
and defendants’ Motion for Summary Judgment [Dkt. # 40] is GRANTED.

SO ORDERED.

CHA EON
United States District Judge
